                   I THE UITED STATES DISTRICT COURT FOR THE
                           MIDDLE DISTRICT OF TEESSEE
                                ASHVILLE DIVISIO

                                                  )
RUTH SMITH, Individually and as Widow for the )
Use and Benefit of Herself and the Next of Kin of )
Richard Smith, Deceased,                          )
                                                  )
      Plaintiff,                                  )
                                                  )                 Civil No. 3:05–0444
v.                                                )                 Judge Aleta A. Trauger
                                                  )
PFIZER INC., et al.,                              )
                                                  )
      Defendants.                                 )



                                TESTIMOY OF ROBERT GIBBOS


My name is Robert D. Gibbons, and I am the Director of the Center for Health Statistics, and Professor of

Biostatistics, Mathematics, Statistics, Computer Science and Psychiatry at the University of Illinois

at Chicago. I am a Fellow of the American Statistical Association and a two-time recipient of the

American Statistical Association's Youden Award for statistical contributions to the field of Chemistry

(2001 and 2006), and the 2009 Outstanding Statistical Application Award for the development of new

and innovative statistical approaches to drug safety, and for clarifying the relationship between

antidepressant pharmacotherapy and suicide. I have received the Harvard Award for lifetime

contributions to the field of Psychiatric Epidemiology and Biostatistics. I am a member of the Institute of

Medicine of the National Academy of Sciences (NAS), and served for six years on the Institute of

Medicine Board on Health Science Policy.


I am the author of over 200 peer reviewed scientific papers, and five books. Two of these books are

considered foundational in the area of environmental statistics (Statistical Methods for Groundwater




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Monitoring (1st edition 1994, 2nd edition 2009); and Statistical Methods for Detection and Quantification

of Environmental Contamination (2001) with David Coleman, both published by John Wiley and

Sons), and the 2001 book received the distinction of being in the top 5 books for statisticians, from the

American Statistical Association. My most recent book with Don Hedeker "Longitudinal Data

Analysis," also published by John Wiley and Sons in 2006 and now being updated to a 2nd edition,

presents a comprehensive overview of methods for the analysis of longitudinal data, with particular

emphasis on analytic problems in mental health research. My first book, "Statistical and Methodological

Advances in Psychiatric Research," was published in 1982.


I have served as a member on the Institute of Medicine Committee on the Prevention of Suicide, and developed

the statistical Appendix of that report that provides a state of the art presentation of statistical methods for

the analysis of suicide completion and attempts. I also served on the Institute of Medicine Committee on

U.S. Drug Safety, which recommended major changes in the way in which the FDA evaluates safety and

post- marketing surveillance of pharmaceuticals. These recommendations have been adopted by Congress

and are now being implemented at FDA. I personally wrote the recommendation that led to the new FDA

Sentinel Network that is using large scale medical records and claims data to evaluate post-marketing

drug surveillance. I was recently elected to the Sentinel Network Safety Science Board. I also served on

the FDA Scientific Advisory Committee on Suicide and Antidepressants in Children. My colleagues and I

have recently published five peer reviewed papers on the relationship between antidepressants and suicide.

These papers included U.S. county-level analyses of the relationship between antidepressants and

suicide in (1) the general population (Archives of General Psychiatry, 2005) and (2) in children

(American Journal of Psychiatry, 2006) in the United States, (3) a study of 226,000 depressed

U.S. veterans (American Journal of Psychiatry, 2007), (4) a study of changes in antidepressant

prescriptions and youth suicide rates in the U.S. and Europe before and after public health


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advisories in the U.S., U.K., and Europe, and black box warning in the U.S (American Journal of

Psychiatry, 2007), and (5) a statistical paper that develops a new approach to the analysis of

spontaneous report data, illustrated with an example of antidepressants and suicide from the FDA

Adverse Event Reporting System (AERS) data (Statistics in Medicine). Our recent paper,

published in the Archives of General Psychiatry explicates the relationship between

antiepileptic drugs and suicide attempts in a cohort of almost 50,000 patients with bipolar

disorder. We looked at patients with bipolar illness, because among patients treated with

antiepileptic drugs, patients with bipolar illness are at the highest risk of suicide. Finally, I am

the primary author of the chapter on post-marketing drug surveillance chapter of the 2010

Annual Review of Public Health. My CV describes in detail my educational and professional

experience and it is marked as EXHIBIT 7434.


In this litigation, I was asked to evaluate the FDA meta-analysis of anti-epileptic clinical trial data.

I was also asked to present the results of my own pharmacoepidemiologic study based on a large

scale medical claims database.



I have prepared a slide summarizing my opinions in this matter [SHOW DEMOSTRATIVE:

DR. GIBBOS’ OPIIOS]. First, the FDA meta-analysis does not demonstrate that

Gabapentin is even associated with -- let alone causes -- suicidal thinking and behavior. Second,

my own study of AEDs in almost 50,000 bipolar patients, who are at the highest risk of suicide,

shows that these drugs do not increase the risk of suicide attempts. Third, my study of

gabapentin in over 130,000 patients with epilepsy, psychiatric and other illnesses demonstrates

that gabapentin does not increase the risk of suicide attempts. Fourth, there is no basis for a

suicide warning specific to gabapentin because there is no signal of increased risk. I hold these


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opinions to a reasonable degree of medical certainty.



I would like to first discuss the FDA AED meta-analysis. As a general background, meta-

analysis is a way of combining the evidence from many randomized clinical trials, and as such, it

is a tool for data review. It is a way to summarize the data from many individual clinical trials or

studies. Although meta-analyses are very useful methods for research synthesis, they are not

useful for deriving causal inferences in and of themselves. It is my opinion that it is not proper

to take the results of a combined meta-analysis of studies of 11 different antiepileptic drugs to

make a statement that any one of them causes suicide.



We are going to be talking about a number of different statistical terms today. So, I would like

to provide you with some basic definitions. First, we will be discussing a calculation called the

odds ratio. This is the ratio of the probability of experiencing an adverse effect on a drug relative

to placebo or the absence of treatment. So an odds ratio of 2 indicates that the probability of

experiencing the adverse event on drug is double the probability of experiencing it on placebo.

An odds ratio of 1 would indicate that the probability for placebo and active drug are identical,

and an odds ratio .5 would mean that the drug has half the probability of an adverse event

relative to placebo.



Another term is confidence interval. In a single experiment, we obtain an estimate of the odds

ratio or some other summary statistics. If we were to repeat the experiment we would get a

different estimate of the odds ratio. The confidence interval provides a range of possible values

for the true value of the odds ratio in the real world, based on the results of a single experiment.




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In practice, we use a confidence level of 95% for the confidence interval.



Let’s talk now about FDA’s meta-analysis. FDA sought to answer the question whether there

was a potential for increased risk of suicidality (suicide behavior or ideation) from the use of

anti-epileptic drugs. In March of 2005, FDA sent letters to sponsors of 11 AEDs requesting the

submission of suicidality data from placebo-controlled clinical trials. Based on FDA's analysis of

these data, on January 31, 2008, they issued an alert to health care providers regarding increased

risk of suicidal thoughts and behavior with AEDs. While details of the analysis were extremely

limited in the alert, on May 23, 2008, FDA released a report on the details of their statistical

review and evaluation of these data. The FDA has indicated that the meta-analyses, such as this

one, do not indicate a causal link between these drugs and suicidality. [SHOW

DEMOSTRATIVE: 12/2008 ALERT].



I have prepared a slide summarizing my opinions regarding the FDA AED meta-analysis.

[SHOW DEMOSTRATIVE: CRITICISMS OF FDA 2008 STUDY]. –First, 2 of the AEDs

studied, topiramate and lamotrigine, are solely responsible for the conclusion that AEDs as a

group are associated with increased risk of suicidal thinking and behavior. If these two drugs

were not a part of the study, there would be no Alert. Second, FDA excluded the vast majority

of gabapentin studies which had zero events in both treated and control arms, retaining only the

three studies for which there were suicidal thoughts, one in each study. This method eliminates

almost all of the information, which creates an impression of risk that is not supported by the

analysis. Third, because suicidal thinking and behavior are rare, and FDA included studies with

different drugs given for very different indications, it is wrong to conclude that the findings




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based on 11 AEDs apply to any one drug. Fourth, FDA's conclusions of increased risk do not

apply to all patients. In fact, FDA’s analysis shows that there is no increased risk in North

Americans, or psychiatric patients, or non-hospitalized patients, or women.



I would like to now discuss each of these opinions in some detail. Plaintiffs’ experts have made

much of the fact that FDA Alert says the “findings are consistent” among the drugs tested in this

analysis. Let me first show you what FDA found. [SHOW DEMOSTRATIVE: CASES OF

SUICIDAL BEHAVIOR OR THIKIG]. This plot shows the number of suicidality events

(the number above each bar) and the total number of patients studies for each drug (the number

in parentheses above each bar) for each of the 11 AEDs. As you can see, by far and away, the

vast majority of events occurred with lamotrigine (27 events) and topiramate (40 events). These

two drugs contributed 38% of patients to the analysis but had 61% of the events. Gabapentin, or

Neurontin, on the other hand, had only 2 events out of 2903 patients treated. This very clearly

shows that the results are not “generally consistent.”




[SHOW DEMOSTRATIVE: FDA META-AALYSIS ODDS RATIOS FOR ALL 11

AEDS]. This is what is known as a “forest plot,” and it shows the odds ratios (the solid

symbols) and the confidence intervals (shown by the bars on either side of the symbols) for each

of the AEDs. The data are plotted in this fashion in order to get a sense of the results for each

drug. As a general rule of thumb, with regards to odds ratios, when the confidence interval

includes 1.0, the finding for that particular drug is not statistically significant. For example,

gabapentin (shown by the red square) had an odds ratio of 1.57, but the confidence interval was




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0.12 to 47.66 showing that there was not a statistically significant increased risk for suicidality

with gabapentin, that is, the probability of having a suicidal thought on gabapentin or placebo is

the same because the confidence interval includes the value 1.0. On the other hand, topiramate

(the third blue circle from the bottom) had an odds ratio of 2.53 with a confidence interval of

1.21 to 5.86, which is a statistically significant increase risk because it does not include the value

1.0. Lamotrigine (the blue circle under gabapentin) had an odds ratio of 2.08 with a confidence

interval of 1.03 to 4.40, which is also a statistically significant increase risk. If you take a

moment to review this graph, you will see that topiramate and lamotrigine are the only 2

individual drugs with an increased risk for suicidality. Again, this shows how the results are not

generally consistent.



Using these data, I determined that the findings are not “consistent” among the AEDs tested. I

performed my own analysis to see if the effect FDA found is from topiramate and lamotrigine

compared to the other nine drugs. [SHOW DEMOSTRATIVE: RATE OF SUICIDAL

BEHAVIOR AD THIKIG FOR TOPIRAMATE & LAMOTRIGIE – PART 1]. I

compared the difference between the nine other AEDs against placebo and lamotrigine and

topiramate against placebo. This plot shows the rate of suicidality events for patients treated

with lamotrigine or topiramate (red bar) compared to placebo (grey bar). This shows that

treatment with either lamotrigine or topiramate results in a doubling of the probability of a

suicidal thought or behavior. [SHOW DEMOSTRATIVE: RATE OF SUICIDAL

BEHAVIOR AD THIKIG FOR TOPIRAMATE & LAMOTRIGIE – PART 2].



Compare this now to the odds ratio for patients treated with the other nine AEDs (blue bar)




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compared to placebo (dark grey bar). Here, you see that there is no difference between the other

nine drugs and sugar pill. It is important to note that there is a very low rate of suicide thoughts

and behavior for all drugs – even those with highest risk, lamotrigine and topiramate, there is less

than a 1% incidence. If, nine of these drugs show no effect, the result cannot be “consistent”

across all drugs. Based on the fact that lamotrigine and topiramate, drove the results and the

other nine drugs show no increased risk, FDA’s findings are not “generally consistent” among all

the drugs. It is my opinion, to a reasonable degree of scientific certainty, that if lamotrigine and

topiramate had never been part of this analysis, FDA would not have found that AEDs increase

the risk for suicidality. If the study contained only these 9 drugs, and not lamotrigine and

topiramate, there would never have been an Alert or an AC meeting or a new warning.



My second opinion regarding the FDA meta-analysis speaks to FDA’s exclusion of trials where

no suicidality events were recorded. FDA threw out all studies with zero events – which

represents the vast majority of the gabapentin data.   Gabapentin had only 2 events of suicidal

thinking – not attempts or completed suicides and there was 1 event in the much smaller number

of placebo patients. Each was in a different study, leaving only three studies of gabapentin that

FDA was able to use in their analysis. This is sign of a really safe drug. By throwing out all of

the zero event studies it makes it appear that a much smaller group of patients was studied, and

that a difference between 2 suicidal thoughts on drug and 1 on placebo is meaningful. Which it

clearly is not.


As a way of checking the impact of excluding zero-event trials, FDA did a meta-analysis of

risk differences, which did not require the exclusion of zero-event studies. A risk difference is

basically the difference in the rate of suicidality on drug versus the rate of suicidality on


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placebo. A risk difference of 0 means that there is no risk, and if the confidence interval

includes the value 0, the result is not statistically significant. [SHOW DEMOSTRATIVE:

FDA META-AALYSIS RISK DIFFERECES FOR ALL 11 AEDS]. Here again is forest

plot of the risk differences (shown by the symbols) and the corresponding confidence intervals

(shown by the lines). Here, FDA found that for gabapentin, the estimated risk difference was

only 0.28 suicidal thoughts per 1000 patients (i.e., one quarter of a patient more experiencing a

suicidal thought treated with gabapentin relative to placebo). The confidence interval was from

-1.37 to 1.92, indicating that there is no statistical evidence of suicidality risk for patients treated

with gabapentin. By contrast, the estimated risk difference for lamotrigine was 5.40 per 1000

patients treated and for topiramate the risk difference was 3.05 per 1000 patients treated, both of

which were statistically significant. This is summarized in the following plots. [SHOW

DEMOSTRATIVE: RISK DIFFERECE COMPARISO – GABAPETI VERSUS

LAMOTRIGIE AD TOPIRAMATE – PART 1]. This plot shows the risk difference for

lamotrigine (pink bar), topiramate (gold bar) and gabapentin (blue bar).           [SHOW

DEMOSTRATIVE: RISK DIFFERECE COMPARISO – GABAPETI VERSUS

LAMOTRIGIE AD TOPIRAMATE – PART 2]. The risk difference for lamotrigine is 19 times

higher than for gabapentin, and the risk difference for topiramate is 11 times larger than for gabapentin.

Again, these findings raise serious questions regarding the “consistency” of results among members of

this class of drugs. Furthermore, these data make it clear that for gabapentin, there is no increased risk

of suicidality.



My third opinion regarding the FDA meta-analysis is that it is wrong to conclude that these results can

be applied to any one drug. Because suicidal thinking and behavior are rare events, and because




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FDA included 11 drugs that are very different with very different indications and types of

underlying studies, it is wrong to conclude that the findings from this study are “generally

consistent.” The bottom line is that because of the differences in the results for these AEDs,

compared to the overall finding by FDA, one cannot attribute the overall data to any one drug.

This can be shown on the next slide. [SHOW DEMOSTRATIVE: FDA COCLUSIOS

CAOT BE APPLIED TO GABAPETI]. This shows the number of events of suicidal

thinking and behavior for the FDA pooled analysis (red bar). There were a total of 104 events.

If you apply this rate to the gabapentin data, we would expect to have seen 22 events (middle

bar). But, gabapentin actually only had 2 events. This shows that the FDA meta-analysis

findings should not be applied to gabapentin.

To illustrate my point, applying the combined results of the meta-analysis to gabapentin would

be like taking a baseball team’s batting average and using it to draw conclusions about the

batting average of an individual player. A baseball team can have some very good hitters and

some very bad hitters, and the team batting average is a combination of all of the player’s batting

averages and tells us very little about the batting averages of the individual players. For

example, if you put me on a team with a lot of very good professional baseball players, the team

batting average is likely to be high, but that does not change the fact that I would not connect

with a single pitch. So, combining gabapentin data in the same way with other antiepileptic

drugs with individually elevated risk, does not reliably tell us anything about gabapentin

individually.



My fourth opinion criticizing the FDA meta-analysis is that the conclusions of increased risk do

not apply to all patients. This gives rise to additional serious concerns regarding the consistency




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of these data. [SHOW DEMOSTRATIVE: DO FDA’s COLCUSIOS APPLY TO

THESE GROUPS]. First, for studies conducted in North America, there was no signal for a

significant association between antiepileptic drugs and suicidality (OR=1.38, CI=0.90-2.13).

Second, for patients treated for psychiatric indications, there was no signal for a significant

association between antiepileptic drugs and suicidality (OR=1.51, CI=0.95-2.45). Third, for

inpatients, there was no signal for a significant association between antiepileptic drugs and

suicidality (OR=1.42, CI=0.40-5.62). Fourth, for females, there was no signal for a significant

association between antiepileptic drugs and suicidality (OR=1.39, CI=0.85-2.35). These

subgroup analyses that were performed by FDA, are inconsistent with their conclusion that the

data show a consistent picture of increased risk of suicidality for all antiepileptic drugs.



There is a claim in this case that GABAergic drugs in particular carry an increased risk of

suicidal behavior. As you will recall from earlier testimony, stated simply, a GABAergic drug is

one that acts to affect the levels of the brain neurotransmitter, GABA. I do not have an opinion

one way or another as to whether gabapentin is GABAergic. Although FDA’s analysis did look

at different mechanism classes of drugs to evaluate the risk of suicide, FDA unfortunately put

topiramate, which had the most events, in all of the pharmacologic groups. This makes any

analysis of whether there is difference in risk profiles among the different classes of drugs

problematic, as is shown in the next 3 slides. [SHOW DEMOSTRATIVE: EFFECT OF

REMOVIG TOPIRAMATE FROM GABAERGIC GROUP – PART 1]. This is my own

analysis of these data. This slide shows a forest plot of the odds ratio for the GABAergic drugs,

and it shows a statistically significant increased risk with an odds ratio of 1.80. [SHOW

DEMOSTRATIVE: EFFECT OF REMOVIG TOPIRAMATE FROM GABAERGIC




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GROUP – PART 2]. If you look only at the data for topiramate, there is a statistically

significant increased risk with an odds ratio of 2.53. [SHOW DEMOSTRATIVE: EFFECT

OF REMOVIG TOPIRAMATE FROM GABAERGIC GROUP – PART 3]. If you

remove the topiramate data from the GABAergic group, you no longer see an increased risk; the

odds ratio becomes 1.01 with a confidence interval of 0.51 to 2.02. The conclusion from this

analysis is that topiramate is driving the results for the GABAergic group. In other words, if

topiramate is excluded from the group, one would conclude that GABAergic drugs have no

increased risk for suicidality.



So what happened with this analysis? First, FDA's primary analysis was based solely on studies with

events, and since the majority of the events were for lamotrigine and topiramate, studies of those two

drugs dominated the primary meta-analysis. Second, FDA’s analysis did not adequately test for study to

study and drug to drug variability in the effect of treatment on suicidality. When treatment effects vary

across studies and/or drugs, it is invalid to attribute the overall effect to any one study or any one drug. So

for example in this case, the overall odds ratio of 1.8, does not apply equally to all antiepileptic drugs.

Third, FDA relied upon the consistency of the effects between drug classes as support for the

consistency of the effects for the individual drugs. In fact, when topiramate is removed from the secondary

drug-class analyses there is no signal whatsoever for GABAergic drugs where sufficient data are available

for a meaningful analysis. To conclude that "the results were generally consistent among all the different

drug products" is not supported by the available data.




On July 10, 2008, FDA convened a meeting of two of their scientific advisory boards to

determine the type and extent of the public health warning that FDA will put out regarding AEDs


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and suicidality. The committee voted against placing a black box warning on AEDs for

suicidality. I completely agree with the decision of the committee. A black box warning is the

highest level warning for a pharmaceutical issued by the FDA. I do not believe there is any

statistical justification for any suicide warning on the basis of the Neurontin data. It is my

unequivocal opinion that meta-analysis cannot be used for drawing causal inferences,

especially with respect to any individual drug within the pooled dataset.


To date there have been few studies of the relationship between antiepileptic drugs and suicidal

thoughts and behavior. I have conducted such a study. [SHOW DEMOSTRATIVE: DR.

GIBBOS’ PUBLISHED BIPOLAR STUDY]. I call this study the “bipolar study.”



In an attempt to better understand if a possible relationship between AEDs and suicide exists, I

conducted a study of a cohort of 47,918 patients with a diagnosis of bipolar disorder who had

an observation period of one year before diagnosis and a follow-up period of one year after

diagnosis. I selected patients with bipolar disorder because among all patients treated with

antiepileptic drugs they are at the highest risk for suicide. I chose to analyze suicide attempt

because it is closer to the event of most interest, which is suicide, and occurs in great enough

numbers to permit analysis in a medical claims database. Further, since completed suicides

are not likely to generate medical claims, as opposed to suicide attempts, I chose the later for

purposes of my analysis. Data for this study came from the PHARMetrics database, the largest

national database of health care claims data that is commercially available. These national data are

not statistically different from the 2000 U.S. Census distributions of age, gender, and region. The

universe of data are comprised of medical, specialty, facility, and pharmacy paid claims from

more than 85 managed care plans nationally, representing more than 47 million covered lives.


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Pfizer had no control over the study design or analyses or how the study was written. Pfizer

never saw a draft of the article before it was submitted to the journal for publication. Pfizer has

not edited a single word of the paper. I did not do anything differently in this study than I have

done in my other studies where I was working with a database supplied by a vendor or through a

grant from a government agency.



The bipolar study has been published in the peer-reviewed journal Archives of General

Psychiatry. This is significant for several reasons. First, this study was not conducted for

litigation. Second, this journal is one of the most prestigious journals in psychiatry. Third,

publication means that the study and findings were subjected to peer-review by highly qualified

scientists who made comments on the initial draft that were addressed by more analysis; and then

the journal concluded the study was reliable and of scientific importance for publication. Fourth,

this journal has the highest “impact factor” of all psychiatric journals – meaning the studies

published in it are most often cited by other authors of scientific publications.


For this study, data were collected from fiscal years 2000 through 2006. All patients with a

diagnosis of bipolar disorder and had continuous enrollment in the system one year before and

after diagnosis were included in the sample. Analyses were adjusted for age, sex, prior suicide

attempts and concomitant treatment (other AEDs, antidepressants, antipsychotics, and lithium).


Here is what I found in the bipolar study. [SHOW DEMOSTRATIVE: DR. GIBBOS’

PHARMETRICS STUDY OF BIPOLAR PATIETS]. This slide shows that rate of suicide

attempts (per 1000 patient years) for patients pre-AED treatment and with AED treatment. So,

when you look at bipolar patients who received any one of the 11 AEDs in the FDA Alert after



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being diagnosed with bipolar disease and compare them to patients who did not receive an AED

after diagnosis, those who received AED treatment did not have an increased risk of suicide

attempt. Comparing suicide attempt rates before and after treatment, there was a significant

reduced risk from 72/1000 patient years to 13/ 1000 patient years. [SHOW

DEMOSTRATIVE: DR. GIBBOS’ BIPOLAR STUDY – BETWEE SUBJECT

COMPARISOS]. This slide shows, on the left-hand pair of bars, that following treatment

there was no overall significant difference in SA rates for patients treated with an AED

(13/1000py) versus patients not treated with an AED or lithium (13/1000py); this means no

statistically significant difference between BP patients who got an AED and those that didn’t.

On the other hand, in patients receiving no additional treatment with another drug such as an

antidepressant, other AEDs or antipsychotic, AEDs had significantly decreased risk relative to

no pharmacologic treatment (15/1000 PY versus 3/1000 PY), as shown on the right-hand pair of

bars. These findings are consistent with FDA's meta-analysis which also found no evidence of increased

risk of suicidality for patients treated with gabapentin.


To check my findings, I performed a second analysis, using monthly data for each patient and

comparing the risk of suicide attempts between those months that were covered by an AED prescription

versus those months that were not. In this way, a patient who took an AED in the first month following

the index episode of bipolar illness only contributed a single person month to the exposure period and all

months thereafter would be considered unexposed (i.e., no treatment with an AED). While the primary

analyses are conservative in that they classify all post treatment suicide attempts as drug related, it can

be argued that this also inflates the length of the treatment period by attributing all post-treatment months

to the treatment time period. For example, one can imagine a situation where all patients take a drug

for only one month, but all suicide attempts occur in that month. By attributing the entire post-treatment


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period to drug, one may underestimate the effect of AED treatment on suicide attempt rate. The

statistical approach that I used, allowed me to determine if the treatment effect was underestimated in

this way. This analysis also allowed me to determine if there was regression towards the mean (that is,

the natural decrease in suicide attempt rate over time), and if present, to adjust for it. If drug treatment

continues to produce a significant decrease in suicide attempt rate, this analysis then rules out the

previously described alternative explanation. [SHOW DEMOSTRATIVE: DR. GIBBOS’

BIPOLAR STUDY – PERSO-TIME AALYSIS]. I found that the significant decrease in

suicide attempt rate on drug was further validated by the monthly analysis. This slide shows that there

was a significant decrease in suicide attempt rate with AED treatment (blue line) relative to no AED

treatment (red line). My analysis revealed that the rate of suicide attempts with AED treatment was

statistically significantly lower than the rate without AED treatment. The odds ratio that I calculated for this

analysis was OR=0.59, CI=0.47-0.75, p<0.0001, which means that AEDs were associated with a

significantly lower rate of suicide attempts in this high-risk patient population. [SHOW

DEMOSTRATIVE: PERSO-TIME AALYSIS OF HIGHEST RISK GROUP -

BIPOLAR PATIETS WITH SUICIDE ATTEMPT I PRIOR YEAR]. When I restricted

the analysis to only those 662 patients that made a suicide attempt in the year prior to the index diagnosis, I

found that there was an even larger decrease in suicide attempt rate associated with treatment (OR=0.35,

CI=0.17-0.74, p<0.005). This is an even higher risk population, because patients with a prior suicide attempt

are 12 times more likely to make another attempt in the next year.



What does this study tell us generally about treatment of patients with AEDs? It tells us first,

that patients who were treated with AEDs had a statistically significant reduction in suicide

attempt rate after taking AEDs than before. In other words, for patients who ultimately received




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AED treatment, their rate of suicide attempt was significantly lower after being treated with an

AED than before. The study also tells us that the suicide attempt rate in patients who ultimately

got AEDs was higher than in the no-treatment group. It is my opinion, to a reasonable degree of

scientific certainty, these data show that not only do AEDs not increase the risk of suicide

behavior, but if anything, there may be a reduced risk for suicide attempt in these patients. That

is, there may be protective effect of AEDs for suicide attempt.



The results of my study on bipolar patients addresses the theory in the case expressed by

plaintiffs’ experts Drs. Kruszewski, Trimble, Glenmullen and Blume that individuals who have

suicide risk are “vulnerable” and “susceptible” to the effects of gabapentin and other AEDs.

This entire study is on that group of individuals that – if plaintiffs’ experts’ theory were correct –

these patients would be the most vulnerable to AEDs like gabapentin. Published studies show

that patients with bipolar disorder have the highest risk of suicide behavior out of all psychiatric

disorders. If there was ever a group to test a “vulnerable subpopulation” theory in, this is it.

Furthermore, the secondary analysis in prior attempters is an even higher risk sample. My study

shows the opposite. Gabapentin does NOT increase the risk of suicide behavior in people at the

highest risk for suicide. And in fact, “vulnerable” people at the highest risk of suicide behavior

had a statistically significantly lower risk after taking AEDs, including gabapentin.



Next, I did a study looking at the PhARMetrics database to assess whether patients who were

taking gabapentin had increased risk of suicide behavior; I call this study the “gabapentin study.”

I conducted a separate study not just looking at bipolar patients, but looking at 131,178 patients

who took gabapentin – for any indication – to see if they had increased risk of suicide attempt




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after initiation of gabapentin treatment. These patients had conditions such as psychiatric

disorders (major depressive disorder, schizophrenia, bipolar disease, and other psychiatric

disorders), epilepsy, and pain disorders. I analyzed all 131,178 gabapentin patients as a group,

but then also analyzed them based on their underlying conditions to see if subgroups might have

increased suicide risk after taking gabapentin. Not only did I adjust for other drugs that were

taken, such as antidepressants, antipsychotics, and other antiepileptics, I looked at a subgroup of

patients who ONLY took gabapentin, to rule out any confounding effects of patients taking other

psychiatric medications.    Patients who take multiple psychiatric medications (e.g.,

antidepressants, antipsychotics and multiple AEDs), are generally more severely impaired and/or

treatment resistant and will be at higher risk for suicide. By including these concomitant

treatments in my analysis, I can adjust for differences in severity between patients receiving

single versus multiple treatments.

I found that the risk of suicide attempt in gabapentin patients prior to treatment is low

30/100,000 PY, but it is cut almost in half after taking gabapentin (16/100,000 PY). [SHOW

DEMOSTRATIVE: DR. GIBBOS’ GABAPETI STUDY – AALYSIS BY

DIAGOSIS]. This slide shows the odds ratios for gabapentin and suicide attempt for several

of the diagnoses I investigated. In this analysis, when all patients are grouped together (shown

by the bottom blue circle labeled “All”), there was no increased risk of gabapentin for suicide

attempt. Gabapentin significantly decreases suicide attempt rates in these more severely ill

patients with psychiatric illnesses, which is shown in the top three blue circles. These data

suggest that there may be a possible protective effect in psychiatric patients taking gabapentin.

For epilepsy and pain patients, I found no increased risk, but also no statistically significant

decrease in risk.




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I performed a similar monthly analysis to that described earlier for the bipolar cohort for the gabapentin cohort.

[SHOW DEMOSTRATIVE: DR. GIBBOS’ GABAPETI STUDY – PERSO-TIME

AALYSIS]. This slide shows the rate of the suicide attempts (per 100,000 person months) for

gabapentin treated (blue line) patients and patients receiving no treatment (red line). Results of the

analysis revealed a significant overall effect of gabapentin use on suicide attempts (OR=0.73, CI=0.55-0.97,

p<0.03), indicating reduced risk of suicide attempts while patients are receiving treatment with gabapentin.



In conclusion, it is my opinion to a reasonable degree of scientific certainty that, as to FDA’s

analysis of AEDs, there is simply no scientific evidence that AEDs increase the risk of suicidal

behavior. In fact, when you look at AEDs alone – with no other medications or lithium – it is

clear based on these results that AEDs are associated with a significant reduction in the risk of

suicide attempts (when compared to no treatment), and when compared to the pre-treatment

suicide attempt rate in these individuals. These bipolar patients who are eventually treated with

AEDs are sicker – they have a higher pre-treatment suicide attempt rate – are at higher risk of

attempting suicide than others. Yet, when they go on to get treatment, that risk is significantly

reduced.



The findings from my study are dramatic for gabapentin – the gabapentin patients were at 6

times less risk of suicide attempt after taking gabapentin. This finding shows that if anything,

gabapentin protects against risk of suicide attempts.



Gabapentin does not increase the risk of suicide attempt – especially in patients who the




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plaintiffs’ experts say are “vulnerable” or “the susceptible minority”. In fact, in those patients

with psychiatric illness – major depressive disorder and bipolar disease – gabapentin treatment

was associated with significantly lowered risk of suicide attempt.



Also, my findings for gabapentin are in line with the FDA data for gabapentin alone, which show

that gabapentin does NOT increase risk of suicidality.




Based on all of the evidence that I have reviewed, and the data that I have personally analyzed, it is my

opinion that there is no increased risk of suicidal thinking and behavior for gabapentin overall, and if

anything, there may be protective effects for psychiatric patients who are at increased suicidal risk.

Because no signal has been identified for increased risk of suicidality for gabapentin, there was never

any reason for Pfizer to warn physicians of this non-existent risk.




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